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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                   Plaintiff,

           vs.

   1CASTLE HILL STUDIOS LLC, et al.                            CASE NO. 17-CV-00454-GKF-JFJ

                   Defendants.


                  DEFENDANTS' RESPONSES TO PLAINTIFF'S FIRST SET OF
                 REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS
           Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (together "Castle Hill") hereby respond to Plaintiffs first set ofrequests for

   production of documents and things.

                                       Objections to Definitions

   Defendants object to the following Definitions:

           1.      "Accused Games," to the extent that it includes any CHG game not identified in

   the definition as the Complaint does not identify the games that allegedly infringe VGT's

   intellectual property rights.

          2.       "Award Sound Trade Dress Feature" to the extent that it includes any sound other

   than the sound of a mechanical bell as an indicator that the player has won credits made by the

   Accused Games.

          3.       "Bingo Play and Pays Trade Dress Feature" as VGT has failed to identify (a) all

   the "winning bingo patterns VGT uses with its 3-Reel Mechanical Games;" (b) what is meant by

   "the method for conducting the ball drop VGT uses with its 3-Reel Mechanical Games; and

   (c) all "pay tables VGT uses to display to players the credits that will be awarded for each

   winning combination on the reels of the 3-Reel Mechanical Games."
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          37.     All Documents and Things referring or relating to any comparison between VGT

   and CHG, including similarities or differences in their Marks, Trade Dress, or products.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Subject to and without

   waiving the objection, requested documents relating to the Accused Games, if any, will be

   produced.



          38.     All Documents and Things referring or relating to CH G's knowledge ofVGT, the

   VGT Marks, the VGT Trade Dress, the VGT Trade Secrets, and VGT's products.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

  burdensome, and not relevant to the claims or defenses of the parties.



          39.     All Documents and Things sufficient to show, on a quarterly basis, the revenues

   of each of the Accused Games sold or leased from the date of first use to present.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

  burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

  the basis that responsive Documents and Things encompass confidential business or trade secret

  information.



          40.    All Documents and Things sufficient to show, on a quarterly basis, the gross net

  and profits realized by CHG, directly or indirectly, for each of the Accused Games sold or leased

  from the date of first use to present.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

  burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

  the basis that responsive Documents and Things encompass confidential business or trade secret

  information.



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          41.     All Documents and Things sufficient to show, on a quarterly basis, CHG's gross

   and net profits since CHG began operating.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

   the basis that responsive Documents and Things encompass confidential business or trade secret

   information.



          42.     All Documents and Things sufficient to show a comparison of CH G's profitability

   between its Accused Games and its non-Accused Games.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

   the basis that responsive Documents and Things encompass confidential business or trade secret

   information.



          43.     All Documents and Things sufficient to show the number of units of each of the

   Accused Games in operation by month and year and the names and locations of the casinos

   where units are or were operating.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

  the basis that responsive Documents and Things encompass confidential business or trade secret

   information.



          44.     All Documents and Things referring or relating to the ways in which CHG

   decides where to seek placement of the Accused Games within casinos.

          Response: CHG objects on the grounds that the Request is overly broad, unduly

  burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on



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          Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Castle Hill also objects on

   the basis that responsive Documents and Things encompass confidential business or trade secret

   information.



          49.     All Documents and Things concerning CH G's Federal Rule of Civil Procedure

   26(a)(l) initial disclosures (and any supplements thereto), including all Documents and Things

  used, relied upon, referenced, or identified therein.

          Response: CHG objects on the grounds that the Request is vague, overly broad, unduly

  burdensome. Castle Hill also objects on the basis that responsive Documents and Things

   encompass confidential business or trade secret information.


  Dated: November 22, 2017


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